Case 2:23-cv-00936-AMA-CMR            Document 92       Filed 12/04/24     PageID.786       Page 1
                                            of 5




 Terry E. Welch (5819)
 Bentley J. Tolk (6665)
 Rodger M. Burge (8582)
 PARR BROWN GEE & LOVELESS
 101 South 200 East, Suite 700
 Salt Lake City, Utah 84111
 Telephone: (801) 532-7840
 Facsimile: (801) 532-7750
 twelch@parrbrown.com
 btolk@parrbrown.com
 rburge@parrbrown.com

 Attorneys for Defendants Kevin Long and
 Millcreek Commercial Properties, LLC


                        IN THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

  KATE GRANT and KARMANN KASTEN,
  LLC,                                                     STIPULATED MOTION
                                                         TO EXTEND CERTAIN CASE
                 Plaintiffs,                                   DEADLINES
  vs.

  KEVIN LONG; MILLCREEK                               Case No: 2:23-cv-00936-AMA-CMR
  COMMERCIAL PROPERTIES, LLC;
  COLLIERS INTERNATIONAL; BRENT                            Judge Ann Marie McIff Allen
  SMITH; SPENCER TAYLOR; BLAKE
  MCDOUGAL; and MARY STREET,                            Magistrate Judge Cecilia M. Romero
                Defendants.


        Pursuant to Fed. R. Civ. P. 16(b)(4) and DUCivR 83-6, defendants Kevin Long,

 Millcreek Commercial Properties, LLC, Colliers International, Brent Smith, Spencer Taylor,

 Blake McDougal and Mary Street (collectively, “Defendants”), and plaintiffs Kate Grant and

 Karmann Kasten, LLC (collectively, “Plaintiffs”), through their respective counsel of record in
Case 2:23-cv-00936-AMA-CMR                   Document 92        Filed 12/04/24       PageID.787        Page 2
                                                   of 5




 this matter, hereby stipulate and respectfully move the Court to extend the following deadlines in

 this case as follows:

                  •   Close of fact discovery: from January 10, 2025 to March 11, 2025;

                  •   Rule 26-(a)(2) expert disclosures (subject and identity of experts) – party(ies)

                      bearing burden of proof: from January 24, 2025 to March 25, 2025;

                  •   Rule 26-(a)(2) expert disclosures (subject and identity of experts) – counter

                      disclosures: from February 14, 2025 to April 15, 2025;

                  •   Rule 26-(a)(2) expert reports – party(ies) bearing burden of proof: from February

                      21, 2025 to April 22, 2025;

                  •   Rule 26-(a)(2) expert reports – counter reports: from March 21, 2025 to May 21,

                      2025;

                  •   Last day for expert discovery: from April 25, 2025 to June 25, 2025;

                  •   Deadline for filing dispositive or potentially dispositive motions: from May 9,

                      2025 to July 11, 2025;

                  •   If the parties do not intend to file dispositive or potentially dispositive motions, a

                      scheduling conference will be held for purposes of setting a trial date: from May

                      15, 2025 to TBD; and

                  •   Evaluate case for settlement/ADR: from January 10, 2025 to March 11, 2025.

          Good cause exists for the requested extensions because the parties need additional time to

 conduct fact discovery; to conduct expert discovery; and to complete the other work and

 deadlines referenced above.




 4882-7532-7485                                          2
Case 2:23-cv-00936-AMA-CMR           Document 92         Filed 12/04/24       PageID.788    Page 3
                                           of 5




          A copy of the proposed Order Extending Certain Case Deadlines is attached as Exhibit

 “A.”

          DATED this 4th day of December, 2024.



                                             PARR BROWN GEE & LOVELESS

                                             By: /s/ Bentley J. Tolk
                                                Terry E. Welch
                                                Bentley J. Tolk
                                                Rodger M. Burge

                                                  Attorneys for Defendants Kevin Long and
                                                  Millcreek Commercial Properties, LLC

                                             CHRISTIANSEN LAW, PLLC

                                             By: /s/ Stephen K. Christiansen
                                                Stephen K. Christiansen
                                                Joshua B. Cutler
                                                Randall S. Everett

                                                   Attorneys for Plaintiffs

                                             DENTONS DURHAM JONES & PINEGAR PC

                                             By: /s/ Andrew V. Wright
                                                James D. Gilson
                                                Andrew V. Wright
                                                David B. Nielson

                                                  Attorneys for Defendant Colliers International

                                             KEITER LAW, P.C.

                                             By: /s/ John Keiter
                                                John Keiter

                                                  Attorney for Brent Smith



 4882-7532-7485                                   3
Case 2:23-cv-00936-AMA-CMR   Document 92    Filed 12/04/24     PageID.789     Page 4
                                   of 5




                                  RAY QUINNEY & NEBEKER P.C.

                                  By: /s/ Justin T. Toth
                                     Justin T. Toth
                                     Maria E. Windham
                                     Nathan L. Jepson

                                     Attorneys for Defendant Spencer Taylor

                                  MITCHELL BARLOW & MANSFIELD, P.C.

                                  By: /s/ J. Ryan Mitchell
                                     J. Ryan Mitchell
                                     Christopher A. Langston
                                     Colby Tinney

                                     Attorneys for Defendant Blake McDougal

                                  STRONG & HANNI

                                  By: /s/ Stuart H. Schultz
                                     Stuart H. Schultz

                                     Attorneys for Defendant Mary Street




 4882-7532-7485                      4
Case 2:23-cv-00936-AMA-CMR              Document 92       Filed 12/04/24     PageID.790      Page 5
                                              of 5




                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 4th day of December, 2024, I caused to be served a true and

 correct copy of the foregoing STIPULATED MOTION TO EXTEND CERTAIN CASE

 DEADLINES via the CM/ECF system, which automatically provided notice to all counsel of

 record.


                                                              /s/ Bentley J. Tolk




 4882-7532-7485                                    5
